
673 S.E.2d 362 (2009)
Jorge RODRIGUEZ-CARIAS
v.
NELSON'S AUTO SALVAGE &amp; TOWING SERVICE.
No. 231PA08.
Supreme Court of North Carolina.
February 5, 2009.
Thomas E. Davis, for Auto Salvage &amp; Towing.
Alice Tejada, Raleigh, for Rodriguez-Carias.

ORDER
Upon consideration of the petition filed on the 2nd day of June 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 5th day of February 2009."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
Defendant shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
HUDSON, J., recused.
